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                 EXHIBIT C
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       DECLARATION OF HENRY RODRIGUEZ IN SUPPORT OF HIS MOTION
                 TO BE APPOINTED LEAD PLAINTIFF AND
               APPROVAL OF SELECTION OF LEAD COUNSEL

        I, Henry Rodriguez, declare as follows:

        1.      I respectfully submit this declaration in support of my motion to be appointed Lead

Plaintiff in the instant class action on behalf of purchasers of ICP Tokens, and for approval of my

selection of Roche Freedman LLP (“RF LLP”) to be appointed as Lead Counsel. I have personal

knowledge of the facts set forth below relating to my activities, actions and beliefs, and would testify

competently thereto.

        2.      I am 46 years old, residing in New Jersey. My highest level of education is an
Associate’s Degree and I work in real estate. I have been investing in crypto assets for over 2 years.
I purchased ICP Tokens based on my analysis of the security.

        3.      As set forth in my certification, I purchased ICP Tokens between May 10, 2021, and

the present, both dates inclusive, (the “Class Period”) and suffered substantial losses. Because I

suffered substantial losses, I am motivated to seek the best possible result for myself and the

proposed class.

        4.      Prior to filing this motion, I spoke with counsel regarding this case. We discussed

the claims against Defendants, my interest in serving as Lead Plaintiff, the fiduciary

responsibilities and obligations of the appointed Lead Plaintiff to the class, and the Lead Plaintiff’s

obligation to select Lead Counsel, and to ensure that the class’s claims will be efficiently and

zealously prosecuted by way of my proposed Lead Counsel.
        5.      I am informed of and understand the requirements of serving as Lead Plaintiff

pursuant to the Private Securities Litigation Reform Act of 1995. I understand my duties as Lead

Plaintiff include fair and adequate representation to all members of the class, and if appointed as

Lead Plaintiff, I will fulfill these responsibilities to the best of my abilities.

        6.      I understand that my duties as Lead Plaintiff include overseeing and monitoring the

progress of the litigation and coordinating with counsel to vigorously prosecute the case in a way

that best serves the interests of the class. If appointed as Lead Plaintiff, I will monitor and direct
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the efforts and activities of my proposed Lead Counsel to ensure that the litigation is handled

efficiently.

        7.     In performing these duties, I will, among other things, review pleadings and motion

papers, obtain regular status reports on the progress of the litigation, participate in discovery, and

have input into litigation decisions, including settlement negotiations.

        8.     My counsel and I have each other’s contact information and either of us may call

for a meeting or conference call at any time, including on an emergency basis if necessary. I am
able and willing to reconvene future calls, as well as attend in-person meetings, and communicate

via email, as often and regularly as necessary to ensure responsible oversight of counsel. I do not

foresee any problems communicating with counsel or staying abreast of the progress of this

litigation.

        9.     After careful consideration, I am satisfied that my chosen counsel, RF LLP, are

experienced in prosecuting actions of this nature and are capable of diligently prosecuting the

class’s claims under my supervision.

        10.    I am aware that I could select any counsel to represent me, and that I was not and

am not required or compelled to recommend RF LLP as Lead Counsel. By submitting this

declaration, I am personally ratifying RF LLP as my choice for that role in this Litigation.
        11.    I have no interests antagonistic to the interests of the class and do not believe that I

am subject to any unique defenses.



         I declare under penalty of perjury that the foregoing is true and correct. Executed this day
            10/12/2021
         of __________________.



                                                                     Henry Rodriguez (Oct 12, 2021 13:22 EDT)


                                                                     Henry Rodriguez




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